       Case:
      Case   24-50982    Document:
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                   United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                   TEL. 504-310-7700
CLERK                                                        600 S. MAESTRI PLACE,
                                                                     Suite 115
                                                            NEW ORLEANS, LA 70130

                              April 02, 2025
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 24-50982      USA v. Youngblood
                        USDC No. 1:23-CR-135-1

The court has considered the motion of Saint Jovite Youngblood to
view non-public and/or sealed material in the record on appeal.
Unless the court granted access to one or more specific documents
ONLY, it is ordered, counsel for Saint Jovite Youngblood may obtain
all ex parte documents filed on behalf of Saint Jovite Youngblood,
and all other non ex parte documents in the record.       The non-
public and/or sealed materials from the record are for your review
ONLY.     The integrity of the sealed documents is your
responsibility, and if provided in original paper, return to the
district court as soon as it has served your purpose.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk

                                   By: _________________________
                                   Casey A. Sullivan, Deputy Clerk
                                   504-310-7642
Mr. Philip Devlin
Mr. Zachary Carl Richter
Mr. Alan Winograd
